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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE


  JAMES JAKOBSEN, et al.,

                         Plaintiffs,                         Case No. C19-1254RSM

                 v.
                                                             ORDER OF DISMISSAL
  ANNETTE BURROUS, et al.,

                         Defendants.



       The Court having been notified of the settlement of this case, and it appearing that no

issue remains for the Court's determination,

       IT IS ORDERED that this action and all claims asserted herein are DISMISSED with

prejudice and without costs to any party.

       In the event that the settlement is not perfected, any party may move to reopen the case,

provided that such motion is filed within sixty (60) days of the date of this order. Any trial date

and pretrial dates previously set are hereby VACATED.

       IT IS SO ORDERED this 5th day of November, 2020.



                                               A
                                               RICARDO S. MARTINEZ
                                               UNITED STATES DISTRICT JUDGE
